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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
 Heredia Mons, et al.,                        )
                                              )
         Plaintiffs,                          )
                                              )                  No. 19-cv-1593 (JEB)
 v.                                           )
                                              )
 Alejandro Mayorkas, et al.,                  )
                                              )
         Defendants.                          )

                                     JOINT STATUS REPORT

       Pursuant to the Court’s minute Order dated October 14, 2021, the parties, by and through

undersigned counsel, submit the following joint status report.

       1. The parties require additional time to confer in an effort to resolve this matter. As

stated in the last status report, Defendants provided on October 8, 2021, a further proposal for

Plaintiffs’ consideration and, since that report, the parties held a further discussion through a Zoom

platform to discuss that proposal.

       2. Accordingly, to allow the parties to continue their discussions, the parties propose that

they file a further status report with the Court by January 20, 2022.

                                       Respectfully submitted,

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                                       United States Attorney

                                       BRIAN P. HUDAK
                                       Acting Chief, Civil Division


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